     Case 2:24-cv-01768-BWA-KWR                   Document 42           Filed 03/14/25         Page 1 of 20




                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF LOUISIANA


 LARRY MOSES                                                                 CIVIL ACTION

 VERSUS                                                                      NO. 24-1768

 THE CITY OF NEW ORLEANS, et al.                                             SECTION M (4)



                                           ORDER & REASONS

        Before the Court is a motion to dismiss pursuant to Rule 12(b)(6) of the Federal Rules of

Civil Procedure filed by defendant Jason R. Williams, in his official capacity as Orleans Parish

District Attorney (“OPDA”).1 Plaintiff Larry Moses responds in opposition,2 and Williams replies

in further support of his motion.3 Also before the Court is a motion to dismiss pursuant to Rule

12(b)(6) filed by defendant the City of New Orleans (the “City),4 to which Moses responds in

opposition.5 Having considered the parties’ memoranda, the record, and the applicable law, the

Court issues this Order & Reasons denying both motions.

I.      BACKGROUND

        This case concerns constitutional violations that allegedly occurred during a criminal

investigation and prosecution that led to Moses being convicted of, and incarcerated for, two

murders.6 The story begins in the early morning hours of January 4, 1994, when Daniel Ratliff

and Alma Causey were shot and killed during an armed robbery on Humanity Street near its


        1
           R. Doc. 34.
        2
           R. Doc. 39.
         3
           R. Doc. 41.
         4
           R. Doc. 35.
         5
           R. Doc. 38. Moses also filed a notice of supplemental authority in opposition to both motions to bring to
the Court’s attention the recent decision in Flanks v. City of New Orleans, 2025 WL 660037 (E.D. La. Feb. 28, 2025),
which was released after Moses filed his opposition memoranda. R. Doc. 40.
         6
           R. Doc. 30 at 1. The following facts are taken from the amended complaint, the allegations of which are
taken as true at this motion-to-dismiss stage.
   Case 2:24-cv-01768-BWA-KWR              Document 42        Filed 03/14/25      Page 2 of 20




intersection with Feliciana Street in the Ninth Ward of New Orleans.7 The New Orleans Police

Department (“NOPD”) reported to the scene to investigate.8 Then-detective Wayne Rumore was

the lead investigator and worked with then-detectives John Ronquillo and Patrick Young on the

case.9       Their work was supervised by then-supervising detectives Patrick Jones and James

Anderson.10 Upon arrival at the scene, NOPD officers spoke with Jean Barras, the only actual, but

partial, eyewitness to the crime.11 Barras, who was inside a home on the corner of Feliciana and

Humanity Streets, looking out of a window facing Humanity Street, reported that she saw the

perpetrator and provided a description, but admitted that she did not see the shooting or the

person’s face.12 She also said that she heard the perpetrator command the victims to get on the

ground and give him their money.13 Barras, who knew Moses, did not implicate him, described a

person that did not meet Moses’s height and build at the time, said she did not know the perpetrator,

and did not report seeing or hearing any other persons in the area before or after the shooting.14

No evidence collected at the crime scene linked Moses to the murders.15 Moses’s name was

mentioned to police when a family member of one of the victims reported that he heard a rumor

that Moses and Ratliff had an argument a few days before the shooting.16 Moses was not

questioned at that time.17




         7
           Id. at 4.
         8
           Id.
         9
           Id.
         10
            Id.
         11
            Id. at 4-5.
         12
            Id. at 5.
         13
            Id.
         14
            Id.
         15
            Id.
         16
            Id. at 6.
         17
            Id.

                                                 2
   Case 2:24-cv-01768-BWA-KWR              Document 42        Filed 03/14/25      Page 3 of 20




       On May 28, 1994, Frederick P. Stamps reported to the NOPD that his ex-girlfriend, Gail

Jenkins, used a man named “Larry” to lure him into an armed robbery.18 Moses alleges that what

really happened is that Stamps committed domestic violence against Jenkins, and when Moses

intervened to deescalate the situation, Stamps also attacked him, leading to a fight.19 Jenkins was

arrested, but Stamps told the officers that he did not know “Larry’s” last name.20

       About a week later, in June 1994, Rumore, Ronquillo, and Jones met with Stamps and

spoke with him about the Ratliff-Causey homicide.21 In those conversations, which were not

recorded, Stamps made it clear to the officers that he had a vendetta against Moses, had credibility

issues, and was mentally unstable.22 Moses alleges that the officers and Stamps created a false

narrative implicating him in the Ratliff-Causey homicide.23 According to Moses, Stamps falsely

claimed that he was walking down Humanity Street before the shooting, where he interacted with

Moses, who threatened him with a gun.24 Stamps said that he then heard Moses talking with the

victims, and Ratliff begging for their lives.25 Stamps also claimed that he actually saw Moses

commit the murders and saw Barras observe it all from the window.26 The officers presented

Stamps with a six-person photographic lineup – claiming that it had been created in January, not

June – from which Stamps identified Moses.27 On June 6, 1994, a warrant was issued for Moses’s

arrest for the Ratliff-Causey homicide.28 After Moses was charged, officers spoke with Barras




       18
          Id. at 7.
       19
          Id.
       20
          Id.
       21
          Id.
       22
          Id.
       23
          Id. at 7-8.
       24
          Id. at 8.
       25
          Id.
       26
          Id.
       27
          Id. at 8-9.
       28
          Id. at 9.

                                                 3
   Case 2:24-cv-01768-BWA-KWR              Document 42        Filed 03/14/25      Page 4 of 20




who “voice identified” Moses as the perpetrator.29 The case went to trial where the officers,

Stamps, and Barras testified consistent with what Moses calls their fabricated documents and

statements.30 Moses was convicted and sentenced to life in prison.31

       In 2022, a joint investigation between the OPDA and the New Orleans Innocence Project

(Moses’s post-conviction counsel) revealed that Brady material had been withheld from Moses’s

defense.32 Moses’s counsel filed a motion for post-conviction relief on his behalf.33 After a

hearing, the state court granted relief.34 That court found that the OPDA “knew that their only

eyewitness, [Stamps], suffered from an apparent mental illness and, additionally, had reason to

blame” Moses for the murders.35 The court also found that the prosecution had medical records

and handwritten notes about Stamps’s medications that could at the “very least” have been “used

for impeachment purposes during trial.”36 Further, the court found that the OPDA knew, but had

not disclosed, that Stamps had been inconsistent about the nature of his relationship with Jenkins.37

In sum, the court concluded that “[d]ue to … Stamps’s inconsistencies, mental illness, and

potential grudge against [Moses] as a romantic rival, Stamps’[s] credibility certainly would have

been an issue ripe for cross-examination” had Moses been ”provided this relevant information,”

yet “none of this clearly favorable information was ever turned over to the defense during either

pre-trial discovery” or otherwise prior to the trial.38 In May 2023, Moses’s conviction was vacated

and the charges against him were dismissed on July 19, 2023.39


       29
          Id.
       30
          Id. at 10-11.
       31
          Id. at 11.
       32
          Id. at 31.
       33
          Id.
       34
          Id.
       35
          Id.
       36
          Id. at 32.
       37
          Id.
       38
          Id.
       39
          Id.

                                                 4
   Case 2:24-cv-01768-BWA-KWR             Document 42       Filed 03/14/25      Page 5 of 20




       On July 15, 2024, Moses filed this action against Williams, in his official capacity as the

OPDA, the City, former NOPD detectives Rumore, Ronquillo, Jones, and Anderson, and former

OPDA assistant attorneys Allison Monahan and Glynn Alexander.40 The City filed notices of

death as to Alexander, Jones, and Ronquillo, and a Rule 12(b)(6) motion to dismiss the

complaint.41 As a result, Moses filed an amended complaint adding the successions of Jones and

Ronquillo as defendants, and dropping Monahan and Alexander as defendants.42 The Court

dismissed as moot the City’s motion to dismiss because it was no longer directed at the operative

complaint.43

       In the amended complaint, Moses brings claims against all defendants under 42 U.S.C. §

1983 for violations of the Fourteenth Amendment, alleging that they deprived him of his

constitutional rights to due process and a fair trial through the fabrication of evidence that

implicated him in the murders and by withholding favorable information from his defense team.44

Moses also brings a § 1983 claim against the City and defendant officers for depriving him of his

liberty without probable cause in violation of the Fourth and Fourteenth Amendments.45 Next,

Moses brings § 1983 claims against the City and defendant officers for failing to intervene to

prevent the violation of his constitutional rights and for conspiring to deprive him of his

constitutional rights.46 Fifth, Moses brings a § 1983 claim against Williams, in his official

capacity, for the OPDA’s policy and practice of withholding Brady material in violation of the

Fourteenth Amendment.47 Sixth, Moses brings a § 1983 claim against the City for its policy and



       40
          R. Doc. 1.
       41
          R. Docs. 16; 17; 18; 25.
       42
          R. Doc. 30.
       43
          R. Doc. 31.
       44
          R. Doc. 30 at 33-34.
       45
          Id. at 34-35.
       46
          Id. at 35-37.
       47
          Id. at 37-39.

                                                5
      Case 2:24-cv-01768-BWA-KWR           Document 42        Filed 03/14/25      Page 6 of 20




practice of fabricating evidence and failing to disclose Brady material to prosecutors, defense

counsel, and the court in violation of the due process protections provided by the Fourteenth

Amendment.48 Seventh, Moses alleges that all defendants violated the Louisiana constitution.49

Next, Moses alleges state-law claims for negligence and intentional infliction of emotional distress

against the defendant officers.50 Lastly, Moses alleges a vicarious liability claim against the City

for the state-law tort claims alleged against the defendant officers.51 The City and Williams move

to dismiss the amended complaint pursuant to Rule 12(b)(6), arguing that Moses fails to state

claims against them.52

II.      LAW & ANALYSIS

      A. Rule 12(b)(6) Standard

         The Federal Rules of Civil Procedure require a complaint to contain “a short and plain

statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). Rule

8 “does not require ‘detailed factual allegations,’ but it demands more than an unadorned, the-

defendant-unlawfully-harmed-me accusation.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)). The statement of the claim must

“‘give the defendant fair notice of what the ... claim is and the grounds upon which it rests.’”

Twombly, 550 U.S. at 555 (quoting Conley v. Gibson, 355 U.S. 41, 47 (1957)). A pleading does

not comply with Rule 8 if it offers “labels and conclusions,” “a formulaic recitation of the elements

of a cause of action,” or “‘naked assertions’ devoid of ‘further factual enhancement.’” Iqbal, 556

U.S. at 678 (quoting Twombly, 550 U.S. at 555, 557) (alteration omitted).




         48
            Id. at 39-42.
         49
            Id. at 42.
         50
            Id. at 42-44.
         51
            Id. at 44.
         52
            R. Docs. 34; 35.

                                                 6
   Case 2:24-cv-01768-BWA-KWR               Document 42         Filed 03/14/25     Page 7 of 20




       Rule 12(b)(6) of the Federal Rules of Civil Procedure permits a party to move to dismiss

for “failure to state a claim upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6). “To

survive a motion to dismiss, a complaint must contain sufficient factual matter, accepted as true,

to ‘state a claim to relief that is plausible on its face.’” Iqbal, 556 U.S. at 678 (quoting Twombly,

550 U.S. at 570). A claim is plausible on the face of the complaint “when the plaintiff pleads

factual content that allows the court to draw the reasonable inference that the defendant is liable

for the misconduct alleged.” Id. (citing Twombly, 550 U.S. at 556). Plausibility does not equate

to probability, but rather “it asks for more than a sheer possibility that a defendant has acted

unlawfully.” Id. (citing Twombly, 550 U.S. at 556). “Where a complaint pleads facts that are

‘merely consistent with’ a defendant’s liability, it ‘stops short of the line between possibility and

plausibility of “entitlement to relief.”’” Id. (quoting Twombly, 550 U.S. at 557). Thus, if the facts

pleaded in the complaint “do not permit the court to infer more than the mere possibility of

misconduct, the complaint has alleged – but it has not ‘shown’ – ‘that the pleader is entitled to

relief.’” Id. at 679 (quoting Fed. R. Civ. P. 8(a)(2)) (alteration omitted).

       In considering a Rule 12(b)(6) motion to dismiss for failure to state a claim, a court employs

the two-pronged approach utilized in Twombly. The court “can choose to begin by identifying

pleadings that, because they are no more than conclusions [unsupported by factual allegations],

are not entitled to the assumption of truth.” Iqbal, 556 U.S. at 679. However, “[w]hen there are

well-pleaded factual allegations, a court should assume their veracity and then determine whether

they plausibly give rise to an entitlement to relief.” Id. “‘[The] task, then, is to determine whether

the plaintiff has stated a legally cognizable claim that is plausible, not to evaluate the plaintiff’s

likelihood of success.’” Body by Cook, Inc. v. State Farm Mut. Auto. Ins., 869 F.3d 381, 385 (5th




                                                  7
   Case 2:24-cv-01768-BWA-KWR              Document 42        Filed 03/14/25      Page 8 of 20




Cir. 2017) (quoting Doe ex rel. Magee v. Covington Cty. Sch. Dist., 675 F.3d 849, 854 (5th Cir.

2012)).

          A court’s review of a Rule 12(b)(6) motion to dismiss “is limited to the complaint, any

documents attached to the complaint, and any documents attached to the motion to dismiss that

are central to the claim and referenced by the complaint.” Lone Star Fund V (U.S.), L.P. v.

Barclays Bank PLC, 594 F.3d 383, 387 (5th Cir. 2010) (citing Collins v. Morgan Stanley Dean

Witter, 224 F.3d 496, 498-99 (5th Cir. 2000)). A court may also take judicial notice of certain

matters, including public records and government websites. Dorsey v. Portfolio Equities, Inc., 540

F.3d 333, 338 (5th Cir. 2008); see also Kitty Hawk Aircargo, Inc. v. Chao, 418 F.3d 453, 457 (5th

Cir. 2005). Thus, in weighing a Rule 12(b)(6) motion, district courts primarily look to the

allegations found in the complaint, but courts may also consider “documents incorporated into the

complaint by reference or integral to the claim, items subject to judicial notice, matters of public

record, orders, items appearing in the record of the case, and exhibits attached to the complaint

whose authenticity is unquestioned.” Meyers v. Textron, Inc., 540 F. App’x 408, 409 (5th Cir.

2013) (citing Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007)).

   B. Williams’s Motion to Dismiss (R. Doc. 34)

          1. The parties’ arguments

          Williams argues that Moses does not adequately allege that the prosecutors violated his

constitutional rights by failing to disclose material exculpatory evidence because Moses does not

describe what the material was and how it would have been used for impeachment or to prove his

innocence.53 Williams further argues that, even if he could show a Brady violation, Moses has not

adequately alleged that the OPDA maintained an unconstitutional written policy or that the district



          53
               R. Doc. 34-1 at 1, 3-4.

                                                 8
   Case 2:24-cv-01768-BWA-KWR                   Document 42           Filed 03/14/25         Page 9 of 20




attorney at the relevant time, Harry Connick, Sr., was deliberately indifferent to a practice of Brady

violations within the OPDA’s office.54 Williams contends that Moses has alleged “unintentional

failures to disclose due to ignorance or misunderstanding that could have been remedied with

better training and supervision,” rather than a practice or policy or inadequate training that caused

Brady violations.55 Williams further argues that Moses does not adequately allege that Connick

had notice before Moses’s conviction that his policies were causing Brady violations.56 Finally,

Williams contends that Moses has not adequately alleged that the OPDA’s polices were the

moving force behind the alleged Brady violation because he has not shown that the prosecutors in

his case were acting in accordance with a policy or custom of the office.57

       In opposition, Moses argues that, in counts I and V of the amended complaint, he has

alleged that he “was deprived of his [d]ue [p]rocess rights under the Fourteenth Amendment

because he was prosecuted, convicted, and imprisoned as a direct result of the suppression of

exculpatory information by [the] OPDA,” which resulted from “both an official OPDA policy and

a custom of suppressing and failing to disclose material exculpatory evidence with deliberate

indifference to the rights of individuals prosecuted by the OPDA.”58 Moses contends that he has

adequately described the suppressed Brady material – namely, that the OPDA had information that

Barras’s voice identification of the perpetrator was fabricated and that Stamps was unreliable,

biased, and not credible, had substance abuse issues, and was mentally unstable – and how it would

have been used to show his innocence and impeach Barras and Stamps.59 Moses also argues that

he has adequately alleged a Monell claim against Williams by alleging that, in the 1990s, the



       54
          Id.at 1, 4-13.
       55
          Id. (quotation at 7).
       56
          Id. at 7-13.
       57
          Id. at 1, 13-14. Williams’s motion does not address Moses’s Louisiana constitutional law claim.
       58
          R. Doc. 39 at 4.
       59
          Id. at 5-9.

                                                       9
  Case 2:24-cv-01768-BWA-KWR                     Document 42       Filed 03/14/25   Page 10 of 20




OPDA’s policymaker, Connick: (1) “‘prioritized overzealous prosecutions and securing

convictions, rather than seeking truth and justice,’” (2) “‘had no meaningful onboarding process

for new assistant district attorneys (ADAs) and failed to appropriately train attorneys on their

constitutional and ethical obligations,’” and (3) “‘maintained a widespread custom and practice …

whereby ADAs freely – and egregiously – violated the constitution’s duty to disclose favorable

evidence’” pursuant to Brady and its progeny.60 Moses points out that he alleges specific examples

of how the OPDA failed to train new attorneys and permitted them to suppress Brady material as

a matter of practice by labeling acquittals as “losses” and failing to track instances of, and

discipline attorneys for, Brady violations.61 He further observes that the amended complaint

alleges that the OPDA had notice of its own internal practices and also was aware that state and

federal courts vacated or reversed convictions due to Brady violations and that there were 18

documented Brady violations by the OPDA’s office in a span of five years.62 Next, Moses argues

that he sufficiently alleges deliberate indifference by the OPDA’s policymaker by showing:

numerous other instances of Brady violations during the relevant time; Connick’s public

statements acknowledging Brady violations, but failing to address them; a culture at the OPDA’s

office of winning at all costs; a failure to train attorneys on their constitutional and ethical

obligations; the OPDA’s practice of allowing attorneys to not affirmatively investigate whether

they had obtained all favorable information; the OPDA’s practice of not disciplining attorneys for

failing to comply with Brady; and the OPDA’s promulgation of a written Brady policy that was

not legally correct.63 Finally, Moses contends that the first amended complaint is sufficient to




       60
          Id. at 10-23 (quote at 11 (quoting R. Doc. 30 at 22)).
       61
          Id. at 11-13.
       62
          Id. at 13-19.
       63
          Id. at 20-21.

                                                        10
  Case 2:24-cv-01768-BWA-KWR              Document 42        Filed 03/14/25      Page 11 of 20




allege that all of these policies and customs of the OPDA’s office were the moving force behind

the alleged constitutional violation.64

        Williams replies, reiterating his argument that Moses fails to adequately allege what

information was withheld by the OPDA’s office (as opposed to the defendant officers) and how it

would have been used to reach a different result in the criminal case.65 Williams also argues that

Moses has not sufficiently pleaded specific facts showing that the OPDA’s policymaker adopted

an unconstitutional policy with deliberate indifference to the rights of criminal defendants because

the examples in the complaint of other Brady violations do not show a cohesive pattern.66 Further,

Williams argues that there are no allegations Connick knew his employees were violating the due

process rights of the accused and there are no relevant examples of Connick’s alleged disdain for

Brady.67 Finally, Williams contends that Moses has not identified a specific policy or common

practice among the OPDA prosecutors that was the moving force behind the alleged constitutional

violation.68

        2. Analysis

        Section 1983 provides a remedy against “every person,” who under color of state law,

deprives another of any rights secured by the Constitution and laws of the United States. 42 U.S.C.

§ 1983; Monell v. Dep’t of Soc. Servs., 436 U.S. 658 (1978). The statute is not itself a source of

substantive rights; it merely provides a method for vindicating federal rights conferred elsewhere.

Olabisiomotosho v. City of Hous., 185 F.3d 521, 525 (5th Cir. 1999). To pursue a claim under §

1983, a plaintiff must: (1) allege a violation of rights secured by the Constitution or laws of the




        64
           Id. at 21-23.
        65
           R. Doc. 41 at 1-4.
        66
           Id. at 4-6.
        67
           Id. at 7-8.
        68
           Id. at 9.

                                                11
  Case 2:24-cv-01768-BWA-KWR                Document 42         Filed 03/14/25      Page 12 of 20




United States; and (2) demonstrate that the alleged deprivation was committed by a person acting

under color of state law. Sw. Bell Tel., LP v. City of Hous., 529 F.3d 257, 260 (5th Cir. 2008); see

also West v. Atkins, 487 U.S. 42, 48 (1988).

        “Under Brady, a local government entity, including a district attorney’s office … deprives

a criminal defendant of his right to due process when it suppresses or withholds evidence that is

both favorable to the defendant and material to his defense.” Truvia v. Connick, 577 F. App’x

317, 321-22 (5th Cir. 2014). A § 1983 Brady claim brought against the district attorney in his or

her official capacity is treated as a suit against the state because the governmental entity is the real

party in interest, and such claims are analyzed under the Monell doctrine. Id. at 322; Hafer v.

Melo, 502 U.S. 21, 25 (1991). In Monell, the Supreme Court held that a governmental entity is

liable under § 1983 only when the entity itself caused the constitutional violation at issue. 436

U.S. at 694. To succeed on an official-capacity claim under Monell (i.e., the claim against the

governmental entity), the plaintiff must establish: (1) an official policy or custom, of which (2) a

policymaker can be charged with actual or constructive knowledge, and (3) a constitutional

violation whose “moving force” is that policy or custom. Valle v. City of Hous., 613 F.3d 536,

541-42 (5th Cir. 2010) (quotation omitted). “A municipality [i.e., the governmental entity] cannot

be held liable under a theory of respondeat superior.” York v. Welch, 2024 WL 775179, at *2 (5th

Cir. Feb. 26, 2024) (citing City of St. Louis v. Praprotnik, 485 U.S. 112, 121-22 (1988)). Thus,

“[i]t is only when the execution of the government’s policy or custom inflicts the injury that the

municipality may be held liable under § 1983.” City of Canton v. Harris, 489 U.S. 378, 385 (1989)

(quotation and alteration omitted).

        “At the motion-to-dismiss stage, a plaintiff need not allege the specific identity of the

policymaker, but must allege facts that show an official policy, promulgated or ratified by the



                                                  12
  Case 2:24-cv-01768-BWA-KWR                Document 42        Filed 03/14/25      Page 13 of 20




policymaker, under which the municipality is said to be liable.” Benfer v. City of Baytown, 120

F.4th 1272, 1285-86 (5th Cir. 2024) (quotations omitted). An official policy “incudes a policy

statement, ordinance, regulation, or decision that is officially adopted and promulgated by the

municipality’s lawmaking officers or by an official to whom the lawmakers have delegated policy-

making authority.” York, 2024 WL 775179, at *3 (quotation and alteration omitted). And, for

Monell liability, “[a]n official policy may also be a persistent, widespread practice of city officials

or employees, which, although not authorized by officially adopted and promulgated policy, is so

common and well settled as to constitute a custom that fairly represents municipal policy and

practically ha[s] the force of law.” Id. (quotation and alteration omitted). To prove the existence

of a custom, a plaintiff must show “a pattern of abuses that transcends the error made in a single

case.” Benfer, 120 F.4th at 1286 (quotation omitted). “A successful showing of such a pattern

requires similarity and specificity; prior indications cannot simply be for any and all bad or unwise

acts, but rather must point to the specific violation in question.” Id. (quotation omitted). The

pattern of similar and specific acts also “must be comprised of sufficiently numerous prior

incidents rather than merely isolated instances.” Id. (quotation omitted). Indeed, “‘[i]solated

violations are not the persistent, often repeated, constant violations, that constitute custom and

policy as required for [Monell] liability.’” Skyy v. City of Arlington, 712 F. App’x 396, 400 (5th

Cir. 2017) (quoting Piotrowski v. City of Hous., 237 F.3d 567, 581 (5th Cir. 2001)). Considering

all these requirements, “[s]howing a pervasive pattern is a heavy burden.” Benfer, 120 F.4th at

1286 (quotation omitted).

       Moreover, the official policy or custom “must be either unconstitutional or adopted with

deliberate indifference to the known or obvious fact that such constitutional violations would

result.” Blanchard-Daigle v. Geers, 802 F. App’x 113, 116 (5th Cir. 2020) (quotation omitted).



                                                  13
  Case 2:24-cv-01768-BWA-KWR               Document 42         Filed 03/14/25    Page 14 of 20




Deliberate indifference is established by showing “a pattern of similar violations arising from a

policy so clearly inadequate as to be obviously likely to result in a constitutional violation.”

Covington v. City of Madisonville, 812 F. App’x 219, 225 (5th Cir. 2020) (quotation omitted).

However, the Fifth Circuit has recognized a narrow “single incident” exception to the pattern

requirement that allows deliberate indifference to be based on a single incident when “it should

have been apparent to the policymaker that a constitutional violation was the highly predictable

consequence of a particular policy.” Id. (quotation omitted). “Mere negligence, even gross

negligence, is not sufficient to establish deliberate indifference.” Id.

       In Connick v. Thompson, the Supreme Court recognized that “[i]n limited circumstances,

a local government’s decision not to train certain employees about their legal duty to avoid

violating citizens’ rights may rise to the level of an official government policy for purposes of §

1983.” 563 U.S. 51, 61 (2011). The governmental entity’s “failure to train its employees in a

relevant respect” is considered “a policy or custom that is actionable under § 1983” only when it

“amount[s] to deliberate indifference to the rights of persons with whom the untrained employees

come into contact.” Id. (quotations and alteration omitted). Because “[d]eliberate indifference is

a stringent standard of fault, requiring proof that a municipal actor disregarded a known or obvious

consequence of his action[,]” the governmental entity may be deemed deliberately indifferently

only when the “policymakers are on actual or constructive notice that a particular omission in their

training program causes city employees to violate citizens’ constitutional rights [and the

policymakers] choose to retain that program.” Id. (quotation and alteration omitted). “The city’s

‘policy of inaction’ in light of notice that its program will cause constitutional violations is the

functional equivalent of a decision by the city itself to violate the Constitution.” Id. at 61-62

(quotation omitted). “A pattern of similar constitutional violations by untrained employees is



                                                 14
  Case 2:24-cv-01768-BWA-KWR               Document 42        Filed 03/14/25      Page 15 of 20




ordinarily necessary to demonstrate deliberate indifference for purposes of failure to train.” Id. at

62 (quotation omitted). And “[p]olicymakers’ continued adherence to an approach that they know

or should know has failed to prevent tortious conduct by employees may establish the conscious

disregard for the consequences of their action – the deliberate indifference – necessary to trigger

municipal liability.” Id. (quotation omitted). On the other hand, “[w]ithout notice that a course of

training is deficient in a particular respect, decisionmakers can hardly be said to have deliberately

chosen a training program that will cause violations of constitutional rights.” Id.

       The “moving force” element of Monell liability requires a plaintiff to “show that the

municipal action was taken with the requisite degree of culpability and demonstrate a direct causal

link between the municipal action and the deprivation of federal rights.” York, 2024 WL 775179,

at *3 (quotation and alteration omitted). Causation in this context “requires proximate causation.”

Id. When a plaintiff claims that a municipality caused an employee to inflict an injury, “rigorous

standards of culpability and causation must be applied to ensure that the municipality is not held

liable solely for the actions of its employee.” Id. (quotation omitted). Accordingly, to survive a

motion to dismiss, “a complaint’s description of a policy or custom and its relationship to the

underlying constitutional violation cannot be conclusory; it must contain specific facts.” Id.

(quotation and alteration omitted). Importantly, “[t]he causal link ‘moving force’ requirement and

the degree of culpability ‘deliberate indifference’ requirement must not be diluted, for where a

court fails to adhere to rigorous requirements of culpability and causation, municipal liability

collapses into respondent superior liability.” Covington, 812 F. App’x at 225-26 (quotation

omitted).

       In counts 1 (claim against all defendants for violating the Fourteenth Amendment) and 5

(Monell claim against the OPDA), which must be read together because they cross-reference each



                                                 15
  Case 2:24-cv-01768-BWA-KWR               Document 42        Filed 03/14/25       Page 16 of 20




other, Moses alleges that the OPDA’s office had a policy and practice of withholding and failing

to disclose favorable information and of failing to train attorneys on their constitutional obligation

to disclose such Brady material, which were both moving forces behind the violation of his

Fourteenth Amendment right to due process.69 Moses has alleged sufficient facts, at this pleadings

stage of the proceeding, to state a Monell claim against Williams, in his official capacity as the

current OPDA, for Brady violations and a failure to train. First, the district attorney is the

policymaker for the OPDA, and Moses identifies Connick as the OPDA at the time he was

prosecuted and convicted.70 See Flanks, 2025 WL 660037, at *7-8 (finding Williams to be the

proper defendant when complaint identified Connick as the OPDA, and thus the official

policymaker under Louisiana law, at the time of the plaintiff’s prosecution and conviction). This

is enough.

       Next, Moses has alleged sufficient facts, at this stage to show that Connick had actual or

constructive knowledge of an official policy, practice, or custom of similar constitutional

violations. Moses points to the OPDA’s written Brady policy that was in effect from 1987 to 1993,

that was allegedly “incorrect and enabled constitutional violations, suggesting that the disclosure

obligation was triggered only in ‘most’ cases and where a specific court order demanded the

production of Brady material (implying that, without a court order, such information need not be

disclosed).”71 Moses also lists 30 OPDA prosecutions in which he says Brady violations occurred,

including instances from 1967, up to and including 1995, when he was tried.72 At this motion-to-

dismiss stage, this listing constitutes a plausible allegation that the OPDA had a custom of

nondisclosure of favorable evidence, as would violate Brady, with Connick on constructive or


       69
          R. Doc. 30 at 33-34, 37-39.
       70
          Id. at 4.
       71
          Id. at 24.
       72
          Id. at 27-29.

                                                 16
  Case 2:24-cv-01768-BWA-KWR                Document 42        Filed 03/14/25      Page 17 of 20




actual notice of such violations – including the need to train, supervise, and discipline prosecutors

– as to reflect his deliberate indifference.      See, e.g., Flanks, 2025 WL 660037, at *8-10

(distinguishing cases to find that plaintiff’s allegation of 26 instances of Brady violations in an 18-

year period was sufficient to state a Monell claim). Moreover, as discussed in Flanks, the Brady

violations identified by Moses as occurring during Connick’s tenure need not have come to light

before Moses’s trial to demonstrate constructive notice to the policymaker and those violations

need not be identical to those in Moses’s case. Id. at *10-11.

       Finally, Moses has stated enough facts, at this juncture, to allege that the OPDA’s policy

or practice was the moving force behind the alleged constitutional violation. Specifically, he has

alleged a sufficient number of prior instances of Brady violations during Connick’s tenure, which

when combined with Connick’s alleged disdain for Brady, would satisfy the requisite causal link

between the policy and the deprivation of federal rights.73 Id. at *12 (finding allegations of similar

Brady violations and Connick’s disdain for Brady to satisfy the “moving force” element of Monell

at the motion-to-dismiss stage).

   C. The City’s Motion to Dismiss (R. Doc. 35)

       The City, like Williams, argues that Moses fails to state a claim against it because he does

not establish the pattern of constitutional violations required to demonstrate the existence of an

official policy that resulted in the deprivation of his rights and does not plead sufficient facts to

support a claim for failure to train, supervise, or discipline.74 The City contends that Moses does

not allege any facts connecting the NOPD’s alleged pattern or practice of fabricating and

suppressing evidence, or failing to report wrongdoing, to his wrongful conviction.75 The City also



       73
          Id. at 25.
       74
          R. Doc. 35-1 at 2.
       75
          Id. at 7-12.

                                                  17
   Case 2:24-cv-01768-BWA-KWR                       Document 42            Filed 03/14/25          Page 18 of 20




argues that Moses inappropriately conflates his claims against the City with his Brady claim

against Williams – in a backdoor attempt to bolster his allegations of a pattern.76 Further, the City

argues that the examples of supposedly similar NOPD conduct alleged in the complaint are not

similar enough to Moses’s case, or occurred after Moses’s conviction, and so, says the City, are

not sufficient to establish a pattern and could not have provided the notice needed to find deliberate

indifference.77 As to Moses’s claim for failure to train, discipline, and supervise, the City argues

that Moses does not provide enough detail concerning the programs to identify how they were

deficient and the examples cited in the amended complaint are not relevant.78 Moreover, the City

contends that Moses’s allegations of a “blue curtain” of silence among officers, whereby instances

of the manufacture of incriminating evidence or the suppression of exculpatory evidence were not

reported, are too conclusory.79 The City also argues that Moses has not identified a City

policymaker because his claims are really premised on the OPDA’s alleged Brady violation.80

Finally, the City argues that Moses has not stated a claim for a Louisiana constitutional violation.81

         In opposition, Moses argues that he has pleaded enough facts to show a widespread practice

at the NOPD of creating false evidence and suppressing exculpatory or impeachment evidence by

citing a number of cases from 1974 to 1994 in which this occurred, along with investigations by

independent agencies into the NOPD in the 1990s that found misconduct in the department.82

Moses contends that this information was sufficient to put the policymaker on notice of these




         76
            Id.
         77
            Id.
         78
            Id. at 12-14.
         79
            Id. at 14-15.
         80
            Id. at 15-16.
         81
            Id. at 17. The City does not specifically address Moses’s claims related to probable cause, failure to
intervene, conspiracy to violate constitutional rights, or vicarious liability for the state-law tort claims of negligence
and intentional infliction of emotional distress.
         82
            R. Doc. 38 at 6-14.

                                                           18
  Case 2:24-cv-01768-BWA-KWR                Document 42        Filed 03/14/25      Page 19 of 20




problems within the NOPD.83 Moses also argues that he has not improperly conflated his Brady

claim against Williams with his claims against the City because more than one governmental entity

can violate constitutional rights during a prosecution and, as a plaintiff, he is permitted to plead in

the alternative.84 Moses maintains that he has pleaded enough facts to state a claim for the City’s

failure to train and supervise the officers by showing that independent studies have documented

such issues in the NOPD and the City acted with deliberate indifference in failing to correct these

problems in the wake of the studies.85 Further, Moses argues that the “code of silence” allegations

are just more support for his allegation that the NOPD had a pattern or practice of misconduct and

is not a standalone § 1983 claim.86 Next, Moses argues that, at this pleadings stage of the

proceeding, he need not identify a specific policymaker, but he has referenced in the complaint the

NOPD superintendents who led the department during the relevant time.87 Lastly, Moses contends

that he has stated claims for Louisiana constitutional violations.88

       The City’s motion is denied for much the same reasons as is Williams’s motion, albeit on

a much thinner set of allegations. Nonetheless, at this stage of the proceeding, this Court finds that

Moses has alleged just enough facts to state a plausible claim that some City policymaker

(presumably, the NOPD superintendent) had knowledge of the NOPD’s alleged custom or practice

during the relevant timeframe of fabricating unfavorable evidence and suppressing favorable

evidence, and that this custom or practice was the moving force behind the alleged constitutional

violation. In his amended complaint, Moses identifies several similar instances of the fabrication

or suppression of evidence by the NOPD, as well as studies by outside groups that could have put



       83
          Id.
       84
          Id. at 15-16.
       85
          Id. at 16-19.
       86
          Id. at 20.
       87
          Id. at 20-21.
       88
          Id. at 21.

                                                  19
   Case 2:24-cv-01768-BWA-KWR                      Document 42           Filed 03/14/25          Page 20 of 20




the policymaker on notice of these problems, and that because the custom or practice did not

change, the policymaker was deliberately indifferent.89 At this juncture, these allegations are

sufficient – though barely – to survive a motion to dismiss.90

III.     CONCLUSION

         Accordingly, for the foregoing reasons,

         IT IS ORDERED that Williams’s motion to dismiss (R. Doc. 34) is DENIED.

         IT IS FURTHER ORDERED that the City’s motion to dismiss (R. Doc. 35) is DENIED.

         New Orleans, Louisiana, this 14th day of March, 2025.




                                                                ________________________________
                                                                BARRY W. ASHE
                                                                UNITED STATES DISTRICT JUDGE




         89
             R. Doc. 30 at 13-22.
         90
             This Court is aware that there are only nine examples of evidence fabrication or suppression listed in
Moses’s amended complaint for the 20-year period from 1974 to 1994, id. at 13-16, and that this number may not
itself be sufficient to establish a custom or practice as a matter of law. Cf. Armstrong v. Ashley, 60 F.4th 262, 277-78
(5th Cir. 2023) (upholding dismissal of Monell claim against a district attorney where plaintiff listed only nine cases
over a 24-year period as examples of the district attorney’s Brady violations). But because instances of the fabrication
or suppression of evidence by a police department may not be as easily uncovered as instances of Brady violations by
a district attorney, the Court accepts the lower number as a sufficiently pleaded plausible allegation of a custom or
practice at this juncture to see if discovery may reveal a higher number of such instances more in line with prior
decisions finding that a custom or practice was established. Whether Moses’s Monell claim against the City will
survive a summary-judgment motion, then, is a decision for a different day.

                                                          20
